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                       IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

   VINCENT G. DENSON,                            )
                                                 )
          Plaintiff,                             )
                                                 )
   vs.                                           ) Civil No. 1:21-CV-
                                                 ) (Jury Trial Demanded)
   DEKALB COUNTY SCHOOL                          )
   DISTRICT,                                     )
                                                 )
          Defendant.                             )

                                      COMPLAINT

         COMES NOW Plaintiff Vincent G. Denson, by his undersigned counsel, and

   submits his Complaint, pleading as follows.

                          I. PRELIMINARY STATEMENT

1. This an action is by an career administrator employed by Defendant Dekalb

   County School District (“Defendant” or “School District”).

2. This action is brought under the retaliation provisions of Title VII of the Civil

   Rights Act of 1964, as amended, 42 USC §§ 2000e et seq. (“Title VII”).

                                         II. THE PARTIES

3. Plaintiff is a Male, African-American employee of Defendant who was initially

   hired in September 1993.
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4.    Plaintiff served as an educator until 2001, when he was promoted to an Assistant

      Principal position.


5.    Plaintiff’s most recently administrative post was as principal of Towers High

      School between 2014 and 2018.


6.    Defendant is a local governmental entity providing public primary, middle and

      secondary school education in all parts of Dekalb county except within Decatur

      and Atlanta city limits.

7.    Defendant’s operations are overseen by a seven-member board known as the

      Dekalb County Board of Education.

8.    Defendant’s chief executive is Cheryl Watson-Harris, the Superintendent.


                                 III.   JURISDICTION AND VENUE

9.    The federal question jurisdiction of this Court is invoked pursuant to 28 U.S.C. §

      1331.

10.   Plaintiff has met all administrative pre-requisites to suit under Title VII having

      timely filed a charge of retaliation with the Equal Employment Opportunity

      Commission and having filed the instant suit within 90 days of receipt of the notice

      of right-to-sue.




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11.   Plaintiff is a resident of the State of Georgia, domiciled in Atlanta, and submits to

      the jurisdiction of this Court by filing suit.

12.   Defendant is a local governmental entity headquartered and operating within

      Dekalb County, Georgia and is subject to the jurisdiction of this Court.

13.   All of the acts and omissions complained of herein occurred within the Northern

      District of Georgia.

14.   Venue is proper in the United States District Court for the Northern District of

      Georgia, pursuant to Title 28, U.S.C. §1391 and the Local Rules of the United

      States District Court for the Northern District of Georgia.

            IV.   FACTUAL ALLEGATIONS GIVING RISE TO COMPLAINT

15.   Plaintiff filed a Charge of Discrimination against Defendant with the EEOC

      in July 2018 and has filed supplemental charges since then.

      16.    Plaintiff filed suit alleging discrimination and retaliation by Defendant

      in federal court on November 5, 2019.

17.   Since Plaintiff filed his charge and throughout the period of litigation, plaintiff

      has applied for and was unsuccessful in administrative positions with

      Defendant for which he was highly qualified.

18.   Those positions included the Assistant Principal Redan High School, the

      Assistant Principal Cedar Grove High School, the Principal Cedar Grove

      High School, the Principal Montclair Elementary School, the Principal


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      Idlewood Elementary School, the Principal Human Capital Management

      Pool, the Coordinator II Region IV position, the Coordinator at Professional

      Development position, and the Assistant Principal Towers High School.

19.   On information and belief, Plaintiff was the most qualified candidate but was

      unsuccessful in his attempts.

20.   Defendant’s consistent denial of such job opportunities is an adverse

      employment action that is unsupported by the objective criteria for the

      positions identified.

21.   But for Plaintiff’s conduct in opposing discriminatory and retaliatory

      treatment and participating in the EEOC process, he would have been

      successful in his candidacy for these positions.

                                       COUNT I

                 RETALIATION IN VIOLATION OF TITLE VII


22.   Plaintiff restates and re-alleges paragraphs 1 through 20 of the Complaint as if

      fully set forth herein.

23.   By the conduct stated, Defendant unlawfully retaliated against Plaintiff in

      violation of Title VII’s opposition clause.

24.   By the conduct stated, Defendant unlawfully retaliated against Plaintiff in

      violation of Title VII’s participation clause.



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                              PRAYER FOR RELIEF

     WHEREFORE, Plaintiff prays;

a)         That the Court enter judgment against Defendant and for Plaintiff.

b)         That the Court enter judgment against Defendant for Plaintiff’s

           expenses of litigation incurred in this matter, including reasonable

           attorneys’ fees;

c)         That the Court award compensatory damages equal to the value of lost

           wages;

d)         That the Court grant Plaintiff a trial by jury; and

e)         That the Court grant Plaintiff such other and further equitable relief or

           other relief as it deems just and proper.



        This20th
             ___ day of April 2021.

                                                 ______________________
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